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                                             State of New Jersey
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SHEILA Y. OLIVER                                       PO Box 45029                                           MICHELLE L. MILLER
   Lt. Governor                                     Newark, NJ 07101                                                 Director




                                                  April 22, 2022

       Via CM/ECF
       Hon. Freda L. Wolfson, U.S.D.J.
       United States District Court, District of New Jersey
       Clarkson S. Fisher Building & U.S. Courthouse
       402 East State St.
       Trenton, NJ 08608

                   Re:      Defense Distributed, et al. v. Gurbir Grewal,
                            Civil Action Nos. 19-cv-4753 & 21-cv-9867 (Consolidated)


       Dear Chief Judge Wolfson,

              Defendants submit this letter requesting clarification of the Court’s Text
       Order (ECF 51) directing the parties to simultaneously submit position papers
       regarding retransfer of this consolidated matter to the Western District of Texas by
       May 6, 2022. Is the Court requesting that the parties propose the next procedural
       steps (including a briefing schedule), or would the Court like the parties to submit
       their substantive briefing by May 6, 2022? If the latter, Defendants respectfully ask
       that the deadline for submission be moved to May 13, both because of this office’s
       workload in several time-sensitive matters before the Third Circuit in the intervening
       time period and because there is a pending petition for rehearing en banc in the Fifth
       Circuit as to the panel decision regarding retransfer in this case. Finally, Defendants
       request clarification as to the length limitations of the submissions.




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      Thank you for Your Honor’s attention to this matter.

                                 Respectfully submitted,

                                 MATTHEW J. PLATKIN
                                 ACTING ATTORNEY GENERAL
                                 OF NEW JERSEY

                           By:   /s/ Angela Cai
                                 Angela Cai
                                 Deputy State Solicitor




    ORDERED that in light of the Order issued by the District Judge in Western
    District of Texas requesting the transfer of this consolidated matter back to
    Texas, this Court, in its previous Text Order, asked each party to submit an
    informal letter stating its position as to whether this Court should exercise its
    discretion to transfer; and it is further

    ORDERED that Defendant's request to extend the submission deadline to May
    13, 2022, is GRANTED.
